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To whom it may concern:



We have known Daniel Adams for several years. Our friendship started when we found out that he was
going to be coaching our son in T-Ball. Our first practice he let us know that he picked our son because
he was the same age as his grandson and we lived right down the street from each other. We all got to
know each other more through t-ball but continued our relationship because he was a genuine, caring
person and was fun to be around. We’d be driving down our street and see him with his kids and
grandson out tossing the baseball and we’d join them. We’d spend a great deal of time together with all
of our kids and neighborhood kids. He’d invite us over for Crawfish or any sort of family gathering and
would never expect anything in return. We trust Daniel and consider him a great friend. If we needed a
hand at our house he would be the first one to volunteer to help, if we needed a bigger boat to go
fishing in he’d offer his own, if we used our boat he always offered to fill it up with gas. If someone was
down on their luck, he would offer to help them too. When the cars were going too fast down our street
he put the little signs out that say “slow-kids playing” to make sure that he was protecting the kids on
the street from getting hit. When his step-son needed some money Daniel helped him get ALL of the
equipment needed to start up his own business. We watched him teach him to work hard in life to earn
a living -- something that Daniel does! He is his daughter’s biggest fan and when she’s dancing on stage
you know he’d be there cheering her on. He’d even be there when she wanted to paint his toenails or
finger nails – We’ve seen it. There a hundreds of stories that we can tell you that show his good
character, even ones that we’ve only heard about and not seen with our eyes. He’s made a great
impression on so many people. When we sit there and think of a good husband, a good father, a hard-
worker, a man that loves his country, a man that values his family and the people around him we think
of Daniel Adams.



Gary & Bridget Anderson & Family




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  From:    Troy Barge troybarge@aol.com
Subject:   Daniel Adams
   Date:   February 11, 2021 at 10:31 PM
     To:   garyeproctor@gmail.com


        Daniel Adams has been a friend of mine for about 17 years.
        Daniel has grown in his career from being a welder to supervisor, quality control
       CWI.
       Just as he’s grown in his career he’s grown in his life to raise his children and be a great husband.
       Daniel is the type of person that loves hunting fishing teaching his children the values and enjoyment that it brings.
        I’ll be praying for my friend and his family in these trying times and for better times.

       Troy A Barge

       Sent from my iPhone




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Rebecca Bishop
5122 Parkcrest Dr.
La Porte, TX 77571
Cell: 832-284-1577
Email: rlbishop1974@gmail.com



To Whom This May Concern:

       Daniel Adams has been my neighbor and friend for over twelve years. Daniel is
a wonderful helpful friend and neighbor to us all. He always helps anyone who is in
need. Has helped my parents and I multiple times with household issues and car
issues. He also helps by keeping a watchful eye of our home and surrounding
neighbor’s homes and helps keep our property and families feeling safe.

       For years Daniel has been very involved in our community with coaching youth
baseball and football teams, impacting the lives of these children and their families.
Daniel is a joy to be around with his amazing attitude and willing to help and be
encouraging whenever he can. The kids and adults love him.

       Daniel is a wonderful family man and a hard worker, he takes excellent care of
his lovely wife, children, and grandchildren. I have seen over the years how he loves
them and would do anything for them. I have had the pleasure of being involved with
his children and watching them grow into great young men and a wonderful young lady.
Daniel has great character and I hope you will find this in him and excuse him of the
charges brought against him.



Sincerely,

Rebecca Bishop



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  From:    Luke Bolton ryanlukebolton@gmail.com
Subject:   Daniel Adams
   Date:   February 11, 2021 at 5:04 PM
     To:   garyeproctor@gmail.com


       To Whom it may concern,

          My name is Luke Bolton I live in Dickinson Texas. I have know Daniel Adams since 2014 when I was introduced to him by what
       would soon be my future wife. I've always thought highly of Daniel and have seen through personal evidence that he is a great father,
       husband, and provider.

          He like myself has children from another marriage and pays child support. And like me that is an obligation he takes serious and is
       punctual with every month. That alone shows the character of a man to live up to his responsibilities and not shy away from the duties
       that he is obliged to.

          I lost my wife in December and Daniel was there at her memorial to give me a big hug and moral support in my time of need. That's
       the kind of man he is.

           Daniel is a patriot and a God fearing lover of his country. It's my belief that a lot of honest people with good intentions attended that
       rally with nothing but having a peaceful demonstration in mind. Unfortunately something happened and there seemed to have been
       some mob mentality that broke out and he got caught up in that.

           Please think of Daniel's wife, young daughter, and his children from his previous marriage that rely on him for financial assistance.

       Sincerely

       Luke Bolton




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To: Gary Proctor

Re: Daniel Adams



Good day,

My name is Elizabeth Buchanan. I am Daniel Adams oldest Sister. I have watched that boy grow
from a boy to a man, to become the most awesome Dad, Husband, friend that a lady could ask
for. Daniel Adams has raised five children. His baby girl, Cameron, is the star in his eye. He
stepped up to the plate to be a Dad to his step son Hunter. Hunter is now 18 and has always
called Daniel, well, Dad. Daniel is the kind of son is Momma is in love with. Daniel always is
there for anything our Mom and Step Dad needs. He is active in all of our lives, always being
there no matter what. Daniel has worked his whole life from the age of around 15. He is now a
Certified Welding Inspector, starting his welding career in high school. Daniel has been all over
this nation to work and is not afraid of a job. There are three of us kids, myself, Daniel, and our
baby sister Katie. Daniel is a good man. Our Momma loves and adores that boy. Daniel is one to
help any time. He went to rescue people in Beaumont, Texas when Hurricane Harvey came
through, has coach little league, and been to everyone of his daughter Cameron’s dance recitals.
There is so much that could be said about Daniel. I could go on and on. Daniel is a good man and
a good person. I have no doubt in my mind that if the courts could see it to be for Daniel to come
home, that he will follow whatever is required of him. Daniel is a hard worker, a good provider,
a wonderful Daddy, and our brother, a good man.



There is so much good that could be said about Daniel Adams, but I won’t take up any more of
your time. We all are praying for his release, knowing he will follow whatever conditions are
required of him. His wife and baby girl really need him at home.



Thank you so much,

Elizabeth Buchanan




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  From:    Sammie Bynog sammie.bynog@yahoo.com
Subject:   Daniel Adams
   Date:   February 11, 2021 at 9:50 PM
     To:   garyeproctor@gmail.com


       Dear Sir,
       Daniel is my cousin and to say he is an amazing man is an understatement.
       Growing up during our younger years, Daniel was always helping around the yard and garden. Helped my dad and our grandparents.
       He never complained. He was always happy, smiling and genuinely a good young man.
       He grew into a wonderful family man. He’s a hard worker, loyal employee, which is evident in his many promotions and wage
       increases. He adores his wife Tonya and loves his kids. He spends time with his family hunting, fishing, scuba diving, building
       things/projects with them and never misses a dance performance or recital of his baby girl Cameron.
       Daniel is a family man, which was very evident to us, his extended family, when we lost our 19 year old son this past October. He and
       Tonya drove 5 hours one way, to be with us the weekend of our son,Tyler’s memorial.. he held my hand. Cried with me. Prayed with
       me. Hugged me as we said goodbye to our son.
       Daniel is there for his family and his friends. He helps his neighbors. He has coached ball. He has been a mentor to several young
       people and encouraged them to live a life that is worthy and honest.
       I am proud to call him my family. I’m honored he’s my cousin.. more like a baby brother, especially considering his mom, two sisters
       and he all lived with us a couple different times while growing up.
       He is a good man. A loyal man. I’m proud of the man he has become.. his whole family loves him and is proud of the kind of man he
       has become.
       I know with my whole heart he is someone who can be trusted and counted on.
       Those kind of people are few and far between so it makes me honored to say he’s my family..
       Sincerely,
       Mrs. Sammie Connell-Bynog
       Daniel’s cousin
       Shreveport Louisiana


       Sent from my iPhone




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 February 11th, 2021                                                      Krystal L. Carter, MHA
                                                                              12004 Logans Way
                                                                                 Keller, TX 76244
                                                                               C: (615) 977-2481


Re: Daniel P. Adams



To whom it may concern:


I have known Daniel Adams for numerous years, and I have always known him to possess solid
core values including integrity, truthfulness, generosity, and kindness.

In my experience, Daniel has proven himself to be an extremely hard-working, compassionate
man with exceptional reliability and dedication to his core values. Daniel is an exceptionally
devoted husband, father, grandfather who has spent countless hours servantly giving to not
only his family, but his community as well.

Whether Daniel was coaching youth sports teams, driving through flooded waters to assist with
evacuation efforts during Hurricane Harvey, or merely helping a neighbor during a time of
need, he has always maintained a friendly, warm smile of hope and given himself selflessly.

Daniel is truly an upstanding citizen and an indispensable asset to not only his family and
friends, but the community as well.


Regards,




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  From:    Robert Cisneros robmcisneros.design@gmail.com
Subject:   Daniel Adams- Character Letter
   Date:   February 12, 2021 at 1:00 AM
     To:   garyeproctor@gmail.com




       To whom it may concern,

       I’ve known Daniel ever since he married my cousin Tonya Adams. He has always been a fun, loving, and hardworking individual that
       cares about the well being of his family, friends, and neighbors. I personally have never known Daniel to ever put his family or others
       in jeopardy. In fact it’s the opposite. When Hurricane Harvey hit Houston, Tx. he was on the front lines risking his own life using his
       boat, vehicle, and other equipment to rescue people that were stranded or clinging onto their lives to bring them to safety. He would
       take the shirt off his back to help someone in need. He only wants to protect his family and neighbor.

       I know what happened at the Capital was wrong, and I have no idea how he got mixed up into this situation; but I know he is a good
       man and his family needs him. If he is released on bond, I wouldn’t be able to comprehend him to abandon any terms given to him. He
       has children, a wife, and a brand new home they just moved into. It’s all such a messed up confusing situation, and I am in shock that
       my cousins are even going through this. I am praying for peace and understanding for my cousins and anyone who has the authority
       to help his situation.

       Sincerely,
       His family member
       Robert M Cisneros


       Sent from my iPhone




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  From:    Daltin Adams daltinandciara98@gmail.com
Subject:   Daniel Adams character letter
   Date:   February 11, 2021 at 9:00 PM
     To:   garyeproctor@gmail.com


       Dear whoever it my concern,
                  Hello my name is Daltin, I am the son of Daniel Adams. I am writing
       today to inform you on the person my father is, hopefully it reaches the judge
       of my fathers case and they read it with as much compassion as I have wrote it
       with. Me and my father have never been close, I lived with him when I was 12
       and 13. I thought he was a monster because my mother manipulated my
       young mind, my father kept me clothe, kept me housed, and kept me secured.
       Like every man he has made mistakes, but when I was in need there was only
       one person who was waiting in the dark to come to my aid. He is the most
       honest and humble man I have ever met, my father took care of my son when I
       couldn't. He took care of him like he was his own. For that I have a dept which
       can never be paid, I owe him atleast this much to send a hopeful letter so that
       he can be with his family. I love my father and cannot try to repay my debt if
       he is away. My father is a man of his word, please allow him to be with his
       family. I have seen him give everything he's got for the people in need, every
       time I talk to one of his friends they tell me stories about him, how he helped
       them get where they are, They all love and respect him. He once told me he
       would rather have 4 quarters then a 100 pennies, Daniel Adams is a
       philosopher, he has taught me alot about life, there is no one I respect more. I
       cant express enough my gratitude that I have for him.




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  From:    Shane Ervin shankdog@gmail.com
Subject:   Daniel Adams
   Date:   February 11, 2021 at 8:20 PM
     To:   garyeproctor@gmail.com


       To whom it may concern. My name is Shane Ervin and I write this today on behalf of my friend Daniel Adams. I’ve known Daniel for
       20+ years. We worked together and became great friends.
       Daniel is a great guy with a huge heart! He’s a family man and puts them first. He loves his friends and is loyal to a fault. Lastly, Daniel
       loves his country. I’m here to say without a doubt that if Daniel is released that he will not run nor hide, that’s not him. I’ll be glad to
       speak on his behalf any time!
                  Shane H Ervin
                    (601)329-1028




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February 11, 2021



To Whom It May Concern,

Good Morning, I am writing to you on behalf of Daniel Adams and to give you a glimpse into who he
really is. Daniel and his family moved into our community last year and I had the pleasure to meet him
not long after they moved in. I am on the board of our neighborhood HOA and was looking for
volunteers to help clean up the parks as well as helping some of the elderly residents with task that they
are unable to do themselves. Daniel and his wife, Tonya were the first one to volunteer to help. This was
my first peek at his true character, after that Daniel, Tonya and Cameron, their daughter would come
over to my house at least weekly to swim in the lake, and eat dinner, and during this time I have really
gotten to know him and his amazing family. It brings a smile to my face to see how his eyes light up
when he speaks about Cameron, when he laughs telling stories about their vacations, and how warm,
friendly and down to earth he is. Daniel’s number one priority is taking care of his family. He lost his job
due to COVID, and he had to go out hunting to feed his family, but, he still found it in his heart to share
with his neighbors the deer meat that he had. He has been a blessing to our community. I know of
several families that when in need have contacted him and he has been there with a smile on his face,
from digging ditches, to mowing the grass, from feeding neighbors to attending the meetings for the
volunteer fire department. Daniel is a man of great character, and I am sure that he will follow any and
all pretrial conditions set by the court.

I understand how truly difficult it is for you to make a decision like this without really getting to know
Daniel. I trust in God that you will look at this letter and the other letters from friends and family and get
a better understanding of who he really is. Daniel has been a blessing as well as an asset to our
community, and we are anxious to have him back home.



Thank you,

Kimberly Hagan




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  From:    patty harrison pharrison850@gmail.com
Subject:   Daniel Adams
   Date:   February 11, 2021 at 4:34 PM
     To:   garyeproctor@gmail.com


       Daniel is my only son and my middle child. He has always put others needs before his own. He's a great father. Very active in his
       children's life and activities. Baseball coach and team leader. Daniel has always worked hard and is a good provider for his family. He
       has a very strong work ethic and a good example for others to follow.

       It gives me great comfort knowing he will be there for us in our later years. He is a true blessing to me and our family. Daniel is loved
       very much by everyone.

       Always a son, always a brother. always a dad, always a husband, always a friend, always a child of God.

       Love n miss you. Your mom.




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Attention Gary E Proctor,



To whom it may concern,

We have known Daniel Adams for over 14 years and his wife Tonya for over 21 years. Daniel, Tonya and
their children have been and will always be family.

 In that time, we have seen that Daniel has done everything for his family, friends and relatives. For
instance, he gained custody of his children to make sure they were in a safe environment and also
fought for grandparent custodial rights for his grandson.

Daniel has worked hard to provide for his wife, children and grandchildren to make sure they were in a
life style that was happy, safe, secure and comfortable.

We cannot at any time remember Daniel being aggressive, violent or angry in any manner.

Our son Brody was in a near fatal motorcycle accident and hospitalized for several weeks in Houston.
When we could not be there with him, Daniel and his wife Tonya was there for us and him. He was and
will always be there for our son Brody.

Daniel has always helped others in his “welding “profession find employment, if he was able.

Daniel leases a hunting lease from us in San Augustine TX for that last 4 years and he always abides by
all the rules and regulations of the lease and the state.

We have no doubt that Daniel Adams will follow any pre-trial agreements and will follow all rules
presented by the courts. Thank you,

Neal and Shirley Hood




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Ryan Kleiber

2878 CR 358

Gause TX, 77857

Feb. 11, 2021

RE. Daniel Adams

To. The Honorable Judge

I have known Daniel Adams as a good friend, Employee and a Texan for over the last 13 to 14 years. I
was both troubled

and surprised to hear about his recent case as he has always been a rather solid person. It is for this
reason I am happy to write

this letter of reference for Daniel Adams. I understand the seriousness of this matter however, I hope
the court will show leniency.

Daniel Adams has always been an upright character in the community. In our friendship and in are work
history together he has

always been there for me when needed. Especially when it comes to work relationships always willing to
lend helping hand or helping

knowledge to make everyone better. He has truly been a good friend over the past years.

I addition to our friendship, I know him as a usually an upstanding member of society. While it is
unfortunate that he has made some bad decisions.

I believe that as this moves forward, he will emerge a better person. It is my hope the court takes this
letter in consideration at the time of sentencing.

Despite the current case, I still believe Daniel Adams to be an honorable individual, a valuable member
of society and a good human being. Thank you!!!



Sincerely,
Ryan Kleiber

Ryan Kleiber




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  From:    John Kuhn john@equipmentsouth.us
Subject:   Fw: Daniel Adams
   Date:   February 11, 2021 at 9:47 PM
     To:   garyeproctor@gmail.com




       From: John Kuhn
       Sent: Friday, February 12, 2021 2:25 AM
       To: garyeproctor@gmail.com <garyeproctor@gmail.com>
       Subject: Daniel Adams

       To whom it may concern,

       I would like to take the opportunity to tell you about the character of Daniel Adams.

       I have know Daniel for approximately 15 years. We work in the same industry and have
       worked around each other and with each other during this Lme. Daniel has been a mentor
       and a leader in his chosen craM, and at one Lme was one of the best in the world.

       Our sons began playing liOle league football together in the fourth grade. During that Lme I
       spent many an aMernoons at pracLce and Saturdays at liOle league football games with
       Daniel. He was always there to support our children from the Lme they were in liOle
       league, through junior high school and into high school.

       While in high school, our boys decided that they wanted to be in the MariLme training
       program, Daniel was one of the parents that spent Lme helping the students while they
       craMed a hand made wooden boat. Daniel also began the process to be an adjunct
       educator for the LaPorte independent school district so that the kids could start a LPISD/
       State ﬁshing team.

       I have a business partner that has a fabricaLon shop in Huﬀman Texas, this shop is in need
       of shop welders, If Daniel is allowed to bond out of jail, we can assist him in gaining
       beneﬁcial employment that will allow him to return to being a tax paying producLve ciLzen
       of the United States of America and the State of Texas,

       It is my belief that Daniel Adams is not a danger to his community nor to any other human
       being. It is my belief that if Daniel Adams is granted bail, he would follow all mandates as
       directed by the courts.
       Thank you for your Lme and consideraLon.

       John M. Kuhn
       john@equipmentsouth.us
       713-550-6077 Mobile




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  From:    Amber Leone aleone491723@yahoo.com
Subject:   Daniel Adams
   Date:   February 11, 2021 at 8:33 PM
     To:   garyeproctor@gmail.com


       To whom it may concern:

       I would like to start by saying my family has known the Adams' family for about 10yrs now. Not only
       are they our friends, but they are now family. We first met Daniel Adams when our oldest sons started
       playing little league baseball together. Daniel was one of the coaches. He cared for all the boys like
       they were his own and he still does. He is a very caring person that truely cares about others and
       would give the shirt oﬀ his back if he thought someone needed it. He's a hard worker and great
       family man. He goes above and beyond to provide for his family.
       He would never let anyone go without if he could help in anyway. Our families are very close and he is
       great person and anyone that knows him, knows that if they called him for any reason he would drop
       what he was doing and help in anyway he could.
       Please contact me if you have any more questions. Thank you for your time.

       Sincerely,

       Amber Leone
       832.541.6692




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  From:    Sarah Lulue sarahlulue@gmail.com
Subject:   Daniel Adams
   Date:   February 11, 2021 at 11:07 PM
     To:   garyeproctor@gmail.com




       I am Sarah Cisneros Lulue. My cousin is Tonya Adams. Her husband Daniel has not only become my family but one of my most
       trusted friends. My family and I have had the pleasure of being his neighbor for 8yrs. Over those years I have seen him help others
       countless times at the drop of a hat. If anyone needed help, day or night he would be there. Even if he just met you, he’d help you. I’ve
       seen him help people pay their bills, find them jobs, and even bring them into his home for over a year to help support them and their
       child while they were going through a hard time.
       As soon as it was safe, he took his boat out to try and rescue as many people as he could during Hurricane Harvey all day and night.
       When it was all over he helped his friends clean up their homes that were flooded.
       We are very selective with who we allow to watch our children and Daniel Adams is one of the few that I completely trust to care for
       them. He has rocked them when they were sick, played, and taught them new things. There is so much love between my kids and
       Daniel.
       I have seen just how hard he works for his family. Long hours, driving long distances, with few days off. Then would still come home
       and care for his daughter. He is an amazing husband and father. He always makes sure they are well provided for. He lives for his wife
       and children. Providing, teaching, and sharing in their interests.
       Daniel is sweet, kind, funny, and one of the best men I know. And I am proud to call him my family.

       Sarah Cisneros Lulue
       Sent from my iPhone




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  From:    Wesley Lulue weslu@sbcglobal.net
Subject:   Daniel Adams
   Date:   February 11, 2021 at 11:06 PM
     To:   garyeproctor@gmail.com


       My name is Wesley Lulue and I have know Daniel Adams for 11 years, and 8 of them were as my neighbor. Daniel is a man with a
       huge heart and goes out of his way to help others. When Hurricane Harvey hit Houston, people needed help and he called me
       immediately to take his boat out and rescue people from their homes. At the end of that day he traveled to Port Author, TX and
       continued the efforts throughout the night. You know the saying “he would give you the shirt off of his back”? Daniel is the type of
       person that makes this statement relevant. He has always been amazing to my children, and is one of few men I would whole
       heartedly trust my children to be alone with. The way he treats them, the way he responds to them, the way he cares for them just
       makes me smile when I see them together. My children are 4 and 2 years old and they call him “Uncle Bow” and the way their eyes
       light up when he is around is a testament of what kind of heart he has. He is a great person, he is my true friend, and one of the few I
       trust without question. He is an amazing provider and will do whatever it takes to make sure his family is taken care of. I have seen
       him work 7 days a week, 12 hour shifts, for months at a time to provide for them. His priority from the moment I met him has been to
       better his family, and coincidentally he helped my family in doing so. I could not be more proud and thankful that he is such a big part
       of my family’s life.

       Wesley Lulue

       Sent from my iPhone




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  From:    Mark Mccomb markmccomb12@yahoo.com
Subject:   Daniel Adams
   Date:   February 11, 2021 at 6:11 PM
     To:   garyeproctor@gmail.com


       Hello
        My name is Mark McComb, and I have known Daniel for over twenty years.
       We have worked side by side, spent many weekends fishing with his children, watched countless Sunday football games, and l have
       been welcomed at his table to celebrate many holidays.
       I have read the charges, and I can honestly say that this is completely out of character for Daniel Adams.
       Daniel is known to be kind, generous, and responsible. He spends most of his spare time working on home improvement projects, or
       attending his children’s events. Daniel and his wife Tonya are often the first to raise their hands when the school needs volunteers for
       a fundraiser, or a team needs help with an event.
       At work Daniel is well respected and considered to be knowledgeable, and dependable. At home Daniel is a devoted husband, and a
       loving and attentive father.
        In short Daniel Adams is a very good man.
       I am proud to know him, and consider myself privileged to call him my friend.

       Mark McComb.




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  From:    Selena McKinley bjandselena@gmail.com
Subject:   Daniel Adams
   Date:   February 11, 2021 at 4:41 PM
     To:   garyeproctor@gmail.com


       I’ve known Daniel Adams for about 9 years now. He’s always cared deeply about his wife and kids and has been a mentor to my son
       in helping him learn the welding trade. He works hard to provide for his family and always helps his friends and community in their
       time of need, regardless of his schedule.




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  From:    Melissa Michulka mmichulka@icloud.com
Subject:   Daniel
   Date:   February 11, 2021 at 7:46 PM
     To:   garyeproctor@gmail.com


       I’ve worked with Daniel off and on for over 16 years.
       During that time he completed the course and worked very hard to become a welding inspector.
       He’s always bettered himself and wanted to have a good life for him and his family.
       He is one of my friends that I would call if help was needed. He’d literally give you the shirt off of his back if it helped someone.
       We hate to see such a great person with a heart like his, have his character in question. He’s a mediator... mentor... teacher and a
       very kind man.
       I’d also like to add that he’d never intentionally do anything to put his wife, children or his integrity in question.

       Jon

       Sent from my iPhone




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February 11, 2021




To whom it may concern:

RE: Daniel Page Adams

I have had the pleasure of knowing Daniel for approximately 12 years. He is married to my
stepdaughter, Tonya. I have proudly been her “mom” for 30 years.

Through the years, I have seen Daniel being a good citizen, devoted husband, father, and son-in-law. He
has always been able to keep a job and pay his bills. When he wanted to further his career, he took the
necessary courses and was able to be top in his field. I believe he is well respected in his industry.

Daniel is a generous, loving and kind man. He is willing to help whenever he can. He was baseball coach
for his boys, and if he could coach dance he would be right up there on stage with his daughter. I
witnessed him take his boat out to help rescue people during hurricane Harvey. He is a good-hearted
person.

In closing, I would like to say Daniel may not be perfect, who of us are, but he loves his family, works
hard, and wants good for all.

Respectfully,
Monica Smith




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To whom it may concern,



   My name is Elmer Paul Sneed of 3979 county road 962B Alvin, TX 77511. My birthdate is 02-04-1975. I'm writing this in regards to
Daniel Paige Adams's (who will be referred to as Daniel) upcoming bond hearing in relation to the events of Jan 6th 2021. I've known
Daniel for over 10 years, a relationship that originated at work. And while we’re completely opposite in a lot of ideas and have argued
over many things, we became close friends because we are both decent, good human beings that ended up respecting one another
for that. I’ve never written a character letter for anyone before and to be honest out of the many friends I’ve come to know over the
years, there’s only about 3 of them that I would. I’ve been sitting here awhile wondering how to sweeten this up and I realized I
actually don’t have to, at all. So this is Daniel.



  He’s a construction worker that’s spent half his life working 10-16 hours a day to provide for his family. Since I’ve known him, he’s
coached baseball to keep his son on a good path in life, and always talked about all the kids on his team like they were his. He and
Tonya took one of his son’s children and the child’s mother into their home so his grandchild would have a good upbringing.



 At work (in the petro/chemical refineries as only a welder at the time, during immediately dangerous to life evacuations, he would
make sure everyone was out of the heater or area we were working in and evacuating themselves before evacuating himself.



 We personally lost everything in the hurricane Harvey flooding and he was the first person here helping us. During Harvey he risked
his truck and life by driving into the Beaumont, TX area during flooding to aid with rescuing people. And it seems like after every storm
he was somewhere helping someone.



  He loved welding but pursued inspection work and weeks of classes to gain certifications in the inspection field for the benefit of his
family.



 About Jan 6th, I talked to him the day before and he was simply excited about going to see Trump’s last rally. I honestly don’t believe
he left with any ill intentions at all. But we’ve all heard the former President's rhetoric that day. I know for a fact without even having
spoken to him that he regrets what his family is going through. I can say without any doubt that if given bail, he’d abide by any rules
and return to his court hearing/hearings without any issues. His family has always come first, always, and I don’t think he would want
to put them through any extra unnecessary stress, especially his young daughter.




                                                    Elmer Paul Sneed




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                            Letter of character for Daniel Adams. 2/12/2021

My name is Derek Stewart. I work for a very prestigious engineering firm called Burns and McDonnell. I
am an inspector for the company. Daniel Adams is my ONEOK client representative and has been for the
previous 11 months on the MB-4 project in Mont Belvieu. Mr. Adams was also my client representative
on the past MB-2 and MB-3 projects several years ago. I write this letter with great enthusiasm and
concern. Mr. Adams has always been a pleasure to work with. I have not seen any aggressive behavior
from Mr. Adams. Mr. Adams has a good working relationship with everyone he encounters here onsite.
We have seen Mr. Adams defuse heated situations between Sub-Contractors. Mr. Adams has always
gone the extra mile to be courteous and kind to all. My colleagues and I find it absolutely ludicrous to
even consider that Mr. Adams has struck a fellow man. In the years we have known Mr. Adams he has
always displayed impeccable self control. To his/her honor or whom it may concern, thank you for
taking this letter into consideration.



Sincerely,

Derek Stewart

(409)429-0094




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February 11, 2021

To Whom it may concern,

My name is Patricia Swaby. I am a neighbor to Daniel Adams and his family. This letter is to attest to
the character of Daniel Adams, as I know him. He is a good solid family man that is giving and caring to
his family and to others whether friend or stranger. I first met Daniel Adams and his family in March of
2020, when they became our neighbors. I can say I have nothing but respect for him.

Upon first moving here Daniel began working to clear their land. He was gracious in sharing dirt from
his property to ours, including his labor and tractor to spread it. He would not accept money for the work.
He stated, “that’s what neighbors do, they help each other.” I knew that day he was a good man. Since
then, I have seen and witnessed Daniel extending many kind deeds. He and his wife enjoy hunting and
fishing. They share a blended family; each have children from past marriages and a daughter together.
Seldom do I see them not doing something that does not involve their children. Hunting season just
passed. Daniel and his wife enjoy hunting. He took a cousin to the lease and mentored him while he shot
his first deer. He takes the family and extended family out on Lake Livingston fishing frequently. He
enjoys his family life and outdoor activities. He is a grandfather. His young grandson Gage, I believe to
be 4 years old, enjoys spending time visiting. From what I have witnessed he is good with the child.

Daniel is a hard worker and a true family man. From the time they first started working on their property
I have watched him work many days sunup to sundown. The improvements that he has made on their
property would take some people years. They enjoy being together as a family and love the country life.
I have never witnessed any drinking, partying, or rowdy lifestyle at their home. The only people I have
ever seen are their kids and extended family. Daniel loves to hunt, cook, enjoy time with his family and
work on their property. He was in the process of building a fence when this occurred.

It is not for me to say, but I will state my view. I did not know of Daniel’s trip to Washington until the
day of January 6th. I did not know of the circumstances or extent of events until his wife came to our
home the day Daniel was arrested. I do not feel that Daniel went to DC with the intent to harm or cause
malice to anyone or anything. I believe he got caught up in a movement that was incited by our then
current President, Donald Trump, and acted in a way that in hindsight he would have never done on his
own without the incitement of the current crowd. President Trump created ‘the perfect storm’ to enrage
and evoke those that were not there for violence. The crowd of peers brought chaos. I do not believe in
my heart of hearts Daniel Adams went to DC to be involved in a riot. He is an honorable, respectable
man and would never sacrifice his family, home or life for such actions.


Patricia Swaby




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  From:    Justin Tullos justintullos@gmail.com
Subject:   Daniel Adams
   Date:   February 11, 2021 at 5:16 PM
     To:   garyeproctor@gmail.com


       I wanted to send over an email in regards to Daniel's character. I've known Daniel since 2004. He worked for me for several years and
       we became friends outside of our work environment. Not only was he an incredible employee, but I learned what a kind and giving
       person he was. When I was going through a very difficult divorce he didn't hesitate to help and even offered me a place to stay. He is
       an incredible father to his children and a great husband. I've watched him and his wife have a relationship that most should be envious
       of. I watched Daniel do a 12 hour work shift and go coach his son's baseball team after work. When a mutual friend passed away, he
       did not hesitate to financially help his family, even if he didn't have the extra money to do it. When one of our co workers got heavily
       addicted to drugs, he went out of his way to help this individual get into a rehab facility. When our areas were devastated by the
       Hurricanes and flooding, Daniel took his boat and went to the rescue. He saved and helped so many people during that time, I was
       proud to call him a friend. I could go on and on about the selfless acts that Daniel has done throughout the years of me knowing him.




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  From:    Katie Page pinkmacncheese@yahoo.com
Subject:   Daniel Adams
   Date:   February 11, 2021 at 11:24 PM
     To:    garyeproctor@gmail.com


       Dear Sir,

       I am writing this on behalf of my husband, our six children and myself. You see, Daniel is more than a husband and a dad (not a
       father, a dad) to his children, but a best friend, inspiration, mentor, and and the only uncle my children have known.
       I trust Daniel with my life and my children’s lives. Daniel is smart, talented, funny, a natural born craftsman, a nurturer, and he is
       anything but a quitter. Daniel has faith in the good Lord above and eat, sleeps, and breathes for his family. He respects his momma,
       puts his wife first and NEVER misses seeing his baby girl on stage at a dance recital!
       Besides our mom, Daniel is the one to go to in a time of need-and all his children, nieces, nephews and close friends know it. Daniel
       doesn’t turn his family away and is loyal to his friends.
       I have seen pure joy in my brother when he was coaching his sons little league team. I have seen true compassion in my brother
       when he was out rescuing people when, one of many, hurricanes hit our area. He has shown my children (and his own) love and
       patience when he was teaching them how to fish. I have seen my brother be kind and in his best element when he was teaching them
       how to hunt. My daughter wants to be a welder, like her Uncle Daniel. My son speaks of being a game warden because of what Daniel
       taught him while hunting and fishing. Everyday of his adult life as a husband, dad, son, brother, friend and uncle, I have seen my
       brother be completely selfless.
       I’m proud to have HIM for my big brother. I would not trade him for anything in this world.

       Sincerely,
       Daniels Little Brat Sister,
       Katie Wells


       Sent from Yahoo Mail for iPhone




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  From:    Daniel Adams daniel.adams77@yahoo.com
Subject:   Daniel P Adams
   Date:   February 11, 2021 at 7:07 PM
     To:   garyeproctor@gmail.com



       To whom it may concern,

       My name is Tonya Adams, Daniel and I will celebrate our 13th wedding anniversary next month. I am
       more than willing to be a third party custodian for Daniel to be released on any pre trial conditions. I
       have never been convicted of a crime and all of the firearms were removed from our property on
       January 16,2021. I have access to Daniel's passport and will gladly deliver it to the nearest federal
       courthouse to turn it in if necessary. In the event that Daniel does not follow any pre trial conditions
       set for him, I will not hesitate to contact the court. I have no doubt that if released Daniel will abide by
       any terms he needs to follow, I will see to it myself. The kids and I just want and need him home.

       Regards,
       Tonya Adams
       281-691-0202




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  From:    Logan W loganw30@yahoo.com
Subject:   Daniel Adams
   Date:   February 11, 2021 at 4:30 PM
     To:   garyeproctor@gmail.com


       To whom it may concern. My name is Logan Williford and I write this today on behalf of my friend Daniel Adams. I’ve known Daniel for
       20+ years. We worked together and became great friends.
       Daniel is a great guy with a huge heart! He’s a family man and puts them first. He loves his friends and is loyal to a fault. Lastly, Daniel
       loves his country. I’m here to say without a doubt that if Daniel is released that he will not run nor hide, that’s not him. I’ll be glad to
       speak on his behalf any time!
                  Logan M. Williford
                    (409)790-0075

       Sent from my iPhone




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Weston Williams

7010 S Hardsaw Rd

Oak Grove, Mo 64075

2/11/2021

I have known Daniel Adams as a good friend and coworker for over 8 years. When my family and I
relocated to Texas for work, I interacted closely with Daniel daily. Daniel was represenMng the client
whom my company was working for. Daniel proved to be a standup person professionally, always
demonstraMng integrity. I was surprised and troubled to hear about a recent case that Daniel has been
involved in, and I felt compelled to write on behalf of him.

Daniel has provided mentorship as well as being a posiMve inﬂuence on several folks we work with. I
have seen on many repeated occasions where Daniel has led by example regarding work ethic,
aQendance, and performance. I have not only worked with Daniel on a professional level but have got to
know him on a personal basis as well. Daniel is a great family man. I have enjoyed being involved with
Daniel spending quality Mme with his sons ﬁshing and daughter. Daniel is heavily involved and invests
quite a bit of Mme within his community helping with sports and other acMviMes. I have a very high
opinion of Daniel based on how he treats others.

Although I cannot speak on Daniel’s behalf with regards to recent events, I feel very conﬁdent that
Daniel will take responsibility for his acMons and cooperate fully with any court pre-trial condiMons. I am
sure that Daniel would like nothing more than to be home with his family.


Sincerely,

Weston Williams




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  From:    Sarah Young sassysarah4004@gmail.com
Subject:   Daniel Adams
   Date:   February 11, 2021 at 10:30 PM
     To:   garyeproctor@gmail.com


       My name is Sarah Young. I am a registered nurse working at 2 hospitals on covid units here in Texas. I met Daniel Adams about 14
       years ago. Our sons played for the same baseball league and his wife Tonya Adams and I were friends growing up. Daniels step son
       Hunter was my son Blake’s best friend throughout childhood. No matter if it were at my house or Daniels they were inseparable. I
       used to coach and train youth baseball/softball prior to becoming a RN. I decided one season to take my sons baseball team for the
       local la porte baseball league. There were not enough coaches and we relied heavily on parent volunteers. There were never many
       parent volunteers either. Although Daniel worked a full time job he jumped at the opportunity to help coach. He did great with the boys.
       He was always willing to go the extra mile. He participated in practices, games, and even met on off days to give the boys some extra
       work. Daniel was very good with all the kids and they respected him. He taught them discipline on and off the field. He made coaching
       the kids fun and they enjoyed learning from him and quite often horse playing and joking with him. We’d often have parents versus
       kids games and Daniel and Tonya were the first to join in. After that season I stopped coaching to focus on training kids and returned
       to school to get my RN. Daniel stayed active in the community coaching and assisting coach his kids teams throughout their youth
       baseball journey. He made it a point to show interest and be involved with his step sons as they grew and now does the same with his
       own daughter. Daniel is a very good friend to have. He’d do anything for anyone. This is the man who in the face of a flood, hurricane,
       or disaster jumps in his truck to help rescue people in his community. He is someone in our community that our kids can look up to. He
       is a loving husband and devoted father. Daniel wanted to see what what happening in this country first hand. He doesn’t understand
       the divide. I am in awe of an individual who can look at reality from all sides prior to passing judgement. Daniels intent in going was to
       seek out the truth and see it for himself. Myself and our entire community back Daniel. I trust Daniel with my own children’s lives... a
       trust that is not earned by many. Daniel adams is one of the good guys in our community and the youth deserve to have him to look up
       to. I sincerely hope you understand the magnitude of Daniels presence in our community and the impact he has in helping develop our
       youth.

       Sarah Young RN

       Sent from my iPhone




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